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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND
                                    (Southern Division)

JOHN DOE                                                 )
                                                         )
                         Plaintiff                       )
                                                         )
          v.                                             )     No. 22-CV-00872-PX
                                                         )
THE UNIVERSITY OF MARYLAND,                              )
     COLLEGE PARK, et al.                                )
                                                         )
                         Defendants                      )
                                                         )

                       DEFENDANT THREE’S ANSWER TO COUNT III
                          OF AMENDED COMPLAINT (Corrected)

          Now come the Defendant, Defendant Three, by her attorneys, John J. Condliffe, Esq.,

Debra B. Cruz, Esq., and Levin Gann PA, pro bono publico, on referral from the Maryland

Coalition Against Sexual Assault, who Answers Count III of the First Amended Complaint and

states,

          1.      Defendant Three can neither admit or deny ¶ 1.

          2.      Defendant Three admits ¶ 2.

          3.      Defendant Three admits and denies ¶ 3 and 4 of the complaint in that the it is not

clear when certain events may have happened.

          4.      Defendant Three can neither admit or deny ¶¶ 5-6

          5.      Defendant Three, through counsel, has not formed a legal opinion as to ¶¶ 7-8 and

declined to admit or deny the legal assertions contained therein.

          6.      Defendant Three admits ¶ 9.

          7.      Defendant Three can neither admit or deny ¶ 10.

          8.      Defendant Three admits ¶ 11 in that this is what the University claims.

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        9.      Defendant Three can neither admit or deny ¶ 12.

        10.     Defendant Three admits ¶ 13 in that this is what the University claims.

        11.     Defendant Three can neither admit or deny ¶¶ 14-62. For some of the allegations

contained in these paragraphs, Defendant Three may have 2nd or 3rd hand knowledge but she has

no personal knowledge beyond that.

        12.     Defendant Three can neither admit or deny ¶ 63. The truth or falsity of the

allegation that Plaintiff is a rapist is a factual issue for the finder of fact upon which discovery will

be conducted.

        13.     Defendant Three denies ¶ 64.

        14.     Defendant Three admits ¶ 65 though she thinks “recognized” and not “chartered”

is the correct term.

        15.     Defendant Three denies ¶ 66.

        16.     Defendant Three admits ¶ 67.

        17.     Defendant Three denies ¶¶ 68-71.

        18.     Defendant Three can neither admit or deny ¶¶ 72-73.

        19.     Defendant Three denies ¶ 74.

        20.     Defendant Three denies the first sentence of ¶ 75 and can neither admit or deny the

second sentence.

        21.     Defendant Three denies ¶¶ 76-78.

        22.     Defendant Three admits ¶ 79 in that she knew Doe was not under investigation as

it pertains to the Roe allegations.

        23.     Defendant Three can neither admit or deny ¶¶ 80-93.




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       24.    Defendant Three admits ¶ 94 in that she knew of the additional formal complaint

when it was dismissed. She does not recall knowing about the complaint before then. Defendant

Three can neither admit for deny whether PSA was a named Respondent though the dismissal

letter would suggest PSA was not a Respondent.

       25.    Defendant Three can neither admit or deny ¶ 95.

       26.    Defendant Three denies ¶ 96.

       27.    Defendant Three can neither admit or deny ¶¶ 97-101.

       28.    Defendant Three admits ¶ 102 only in that she knew something happened between

Doe and Roe on that date.

       29.    Defendant Three can neither admit or deny ¶¶ 103-109.

       30.    Paragraphs pertaining to Counts I, II, IV and V are not responded to in that they do

not pertain to Defendant Three. Count IV is not responded to as a Motion to Dismiss is filed

concurrently with this Answer to Count III.

       31.    Defendant Three admits that ¶ 137 is a reasonable initial statement of the tort of

defamation subject to many different additional legal elements.

       32.    Defendant Three denies ¶¶ 138-139.

       33.    Defendant Three denies ¶ 140 since among other reasons, as a matter of law, the

proceedings between Doe and Roe have no res judicata effect on her.

       34.    Defendant Three denies ¶¶ 141-147.




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       WHEREFORE, Defendant Three prays that judgment be entered in her favor and the case

dismissed.


                                                 John J. Condliffe
                                                 ______________________________
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